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                EXHIBIT A




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           Matter 4                                            Case Administration



Attorney       Date                              Description                    Time        Rate    Amount

                         Review newly fied pleadings and attend to same
  JSB         12/03/09                                                               0.60    $625    $ 375.00
                         (.60).

                         Confer with T. Freedman re 2010 fee budget (.30);
  JSB         12/04/09   prepare correspondence re same (.30); confer with           0.90    $625    $ 562.50
                         M. Mc Carthy re fee budget issues (.30).

                         Review draft 2010 fee budget and confer with T.
  JSB         12/09/09   Freedman re same (.30); review and respond to               0.80    $625    $ 500.00
                         numerous case inquires (.50).

                         Review newly filed pleadings and case inquiries and
  JSB         12/11/09                                                               0.70    $625    $ 437.50
                         attend to same (.70).

                         Review newly fied pleadings and follow up re same
  JSB         12/14/09   (.50); review and respond to correspondence re              0.80    $625    $ 500.00
                         mediator retention issues (.30).

                         Confer with Company re status of all pending
  JSB         12/15/09   matters (.50); review correspondence re numerous            1.00    $625    $ 625.00
                         case issues and respond to same (.50).

  JSB         12/17/09   Review and respond to numerous case issues (.50).           0.50    $625    $ 312.50

                         Review correspondence and follow up re notice lists
  JSB         12/22/09                                                               0.30    $625    $ 187.50
                         with BMC (.30).

 Total                                                                               5.60           $3,500.00




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           Matter 5                            Claim Analysis Objection & Resolution (Asbestos)


Attorney       Date                         Description                        Time       Rate     Amount

                         Confer with D. Boll re Rust ZAI issues and
  JSB         12/03/09   Concordance data base (.30); confer with K. Davis        0.80      $625   $ 500.00
                         and D. Boll re ZAI claim issues (.50).

                         Review Alltech correspondence re claims inquiries
  JSB         12/22/09                                                            0.30      $625   $ 187.50
                         (.30).

 Total                                                                            1.0              $ 687.50




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           Matter 6                          Claim Analysis Objection & Resolution (Non-asbestos)


Attorney       Date                          Description                          Time     Rate     Amount

                        Revise Munoz COC and prepare same and
                        transmittal for filing (.30); review and respond to
                        correspondence re outstanding tax claim issues
                        (.30); review memo re employee outstanding tax
                        claim issues (.30); confer with R. Higgins re tax
  JSB        12/01/09   claim issues (.20); confer with R. Higgins and Grace        2.80    $625    $1,750.00
                        representatives re employee claim issues (.80);
                        confer with D. Boll re Concordance data base and
                        prepare correspondence re same (.40); confer with
                        R. Higgins re Hammar Lease rejection issues/claim
                        (.30); prepare correspondence re same (.20).

                        Prepare for and participate in telephone conference
                        call with client and J. Baer re summary judgment
                        motion fact development (1.20); draft and revise
                        legal analysis re same (1.30); draft and revise factual
                        background re same (1.10); prepare for and
  RJH        12/01/09                                                               6.20    $475    $2,945.00
                        participate in telephone conference with client re
                        employee claims (1.10); prepare for and participate
                        in telephone conference with client re Hanmar proof
                        of claim (.80); analyze 11/25/09 claims reports from
                        BMC (.70).

                        Draft and revise factual background re summary
                        judgment motion (3.60); analyze 11/25/09 claims
                        reports from BMC and exchange correspondence
                        with various parties re same (1.60); legal analysis of
  RJH        12/02/09   client documents re tax claims (.50); exchange              6.70    $475    $3,182.50
                        correspondence with client re tax claims (.30);
                        attend to matters and exchange correspondence with
                        various parties re Sutton Brook settlement notice '
                        (.70).

                        Review correspondence re Mass claims and status re
  JSB        12/04/09                                                                .40    $625     $ 250.00
                        same (.40).

                        Draft and revise factual background re summary
                        judgment motion (2.90); draft and revise legal
                        analysis re same (3.70); legal analysis of client
  RJH        12/07/09   documents re tax claims (1.30); attend to matters           R.20    $475    $3,R95.00
                        and exchange correspondence with various parties re
                        Sutton Brook settlement notice (. i 0); analyze issues
                        re Hatfield lease rejection claim (.20).




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Attorney    Date                            Description                          Time     Rate     Amount

                       Draft and revise summary judgment motion (3.50);
                       legal analysis of client documents re tax claims and
                       telephone conference with client re same (2.30);
  RJH      12/08/09    attend to matters and exchange correspondence with          6.70    $475    $3,182.50
                       various parties re Sutton Brook settlement notice
                       (.50); analyze issues re Hatfield lease rejection claim
                       ( .40).

                       Analyze additional client materials re summary
                       judgment motion (1.40); analyze issues re Hatfield
  RJH      12/09/09                                                                2.60    $475    $1,235.00
                       lease rejection claim, exchange correspondence and
                       telephone conference with client re same (1.20).

                       Analyze additional client materials re summary
                       judgment motion (1.60); revise draft summary
                       judgment motion (2.40); legal research re same
  RJH      12/1 0/09                                                               6.80    $475    $3,230.00
                        (2.10); exchange correspondence with counsel for
                       Hatfield re claim (.20); exchange cOlTespondence
                       with D. Lennon re North Carolina claim (.50).

                       Revise draft summary judgment motion (2.40); legal
                       research re same (2.10); telephone conference with
                       D. Lennon re North Carolina tax claim (.90); revise
  RJH      12/11/09                                                                7.40    $475    $3,515.00
                       stipulation re same (.80); legal research re same
                       (.90); exchange correspondence with client and
                       other parties re same (.30).

                       Exchange correspondence with client and other
                       parties re North Carolina tax stipulation and revise
                       same (.70); analyze employee claims issues and
  RJH      12/14/09                                                                3.30    $475    $1,567.50
                       exchange correspondence with various parties re
                       same (1.80); attend to issues re Wright and other
                       claims (.60).

                       Revise draft summary judgment motion and
                       exchange correspondence with various parties re
                       same (1.50); telephone conference with client re
                       same (.40); exchange correspondence with client
                       and others re North Carolina tax stipulation and
                       analyze issues re same (1.10); prepare for and
  RJH      12/16/09                                                                7.60    $475    $3,610.00
                       participate in telephone conference with D. Sherrer
                       re employee claims issues (.60); legal analysis re
                       employee claims issues (2.30); legal analysis re
                       various tax claims and exchange correspondence re
                       same (1.40); review and analyze Zhagrus claim
                       (.30).

                       Review and respond to numerous inquiries re status
  JSB      12/17/09    of several claim objections and follow up re same            .50    $625     $312.50
                       (.50).




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Attorney    Date                                 Description                         Time        Rate     Amount

                      Prepare for and participate in telephone conference
                      with D. Sherrer and others re employee claims
                      issues (1.70); legal analysis re employee claims
                      issues (4.60); prepare for and participate in
                      telephone conference with F. Zaremby re same
                      (1.90); legal analysis re various tax claims and
  RJH      12/17/09   exchange correspondence re same (.50); review and                   9.80    $475    $4,655.00
                      analyze Norfolk Southern claim issues and exchange
                      correspondence with various parties re same (.20);
                      exchange correspondence with S. Tetro re various
                      claim and L/C facility matters (.40); legal analysis re
                      Shaffer claim and exchange correspondence with
                      various parties re same (.50).

                      Confer with R. Higgins re employee claims status,
                      data base and related issues (1.20); confer with R.
                      Higgins re summary judgment issues (.30); further
  JSB      12/18/09   confer with R. Higgins re employee claims (.30);                    2.50    $625    $1,562.50
                      review summary re employee claims status (.30);
                      confer with F. Zaremby, R. Finke and R. Higgins re
                      employee claims matter (.40).

                      Legal analysis and draft motion re employee claims
                      issues (6.10); prepare for and participate in
                      telephone conference with J. Baer re same (1.20);
  RJH      12/18/09   telephone conference with 1. Hughes re summary                      8.80    $475    $4,180.00
                      judgment motion (.30); analyze client materials sent
                       12/18 re same (.50); confer with F. Zaremby, R.
                      Finke and 1. Baer re employee claims matter (.40).

                      Legal analysis and draft motion re employee claims
  RJH      12/21/09   issues (7.10); telephone conference with 1. Baer re                 7.30    $475    $3,467.50
                      summary judgment motion (.20).

                      Further review summary judgment motion and
                      memorandum and revise same (.70); review and
  JSB      12/22/09   respond to inquiries re employee claims                             1.40    $625     $ 875.00
                      issues/objection (.40); confer with R. Higgins re
                      employee claims motion approach and issues (.30).

                      Legal analysis and draft motion re employee claims
  RJH      12/22/09   issues (6.10); revise summary judgment motion                       7.50    $475    $3,562.50
                      (1.0); confer with 1. Baer re same        (.30).



                      Legal analysis and draft motion re employee claims
  RJH      12/23/09                                                                       8.10    $475    $3,847.50
                      issues (8.10).


                      Revise summary judgment motion (4.50); legal
  RJH      12/28/09                                                                       7.80    $475    $3,705.00
                      research re same (3.30).




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Attorney    Date                          Description                         Time     Rate      Amount

                      Confer with J. Baer re employee claims issues and
  RJH      12/29/09   other issues (.60); revise summary judgment motion        8.70    $475     $4,132.50
                      (8.10).

                      Legal research re employee claims issues (1.90);
                      draft motion and related papers re same (.70); revise
  RJH      12/30/09                                                             6.10    $475     $2,897.50
                      summary judgment motion and legal research re
                      same (3.50).

 Total                                                                        127.20            $6 I ,560.00




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           Matter 8                                         Employee Benefis/Pension


Attorney       Date                         Description                        Time      Rate    Amount

                         Confer with M. ShelnItz re potential amendments re
  JSB         12/07/09                                                            0.30    $625   $ 187.50
                         Pension Plan Obligations

 Total                                                                        0.300.30           $ 187.50




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         Ma tter 11                                         Fee Applications, Applicant


Attorney      Date                          Description                          Time      Rate    Amount

  RJH       12/08/09    Prepare November fee detail (1.40).                         1.40    $475    $ 665.00

                        Review time biled for November fee application
  JSB       12/09/09                                                                0.50    $625    $ 312.50
                        (.50).

  RJH       12/09/09    Prepare November fee detail (3.50).                         3.50    $475   $1,662.50

  JSB       12/1 0/09   Review revised November fee detail (.40).                   0.40    $625    $ 250.00

  RJH       12/1 0/09   Revise November fee detail (.80).                           0.80    $475    $ 380.00

                        Prepare November fee application and expense
  JSB       12/11/09                                                                0.50    $625    $312.50
                        request (.50).

                        Review/revise and finalize November fee application
  JSB       12/21/09                                                                0.50    $625    $ 312.50
                        fees and expenses (.50).

                        Prepare November fee application for filing and
  RJH       12/21/09    exchange corresponclnce with various parties re             1.0     $475    $ 570.00
                        same (1.20).

 Total                                                                              8.80           $4,465.00




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         Matter 12                                       Fees, Applications, Others




Attorney      Date                        Description                         Time      Rate     Amount

                       Review and respond to correspondence re year end
  JSB       12/01/09                                                             0.30    $625    $ 187.50
                       fee application and payment issues (.30).

                       Analyze Grace fees for 2010 Budget analysis and
  JSB       12/08/09   response (.80); confer with T. Freedman re same           1.0     $625    $ 750.00
                       (.40).

 Total                                                                       1.501.0     $625    $ 937.50




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        Ma tter 13                                                  Financing


Attorney     Date                          Description                          Time     Rate     Amount

                       Confer re DIP/COC amendments (.30); review draft
                       revised LC Facility Agreement (1.00); confer further
  JSB      12/01/09    with R. Higgins re same (.40); review and respond          2.00    $625    $1,250.00
                       to correspondence re status of DIP and related
                       financial issues (.30).

                       Review and analyze letter of credit facility and
                       related documentation and draft memorandum re
  RJH      12/01/09    same (.80); meet with J. Baer re same and other            1.70    $475     $ 807.50
                       issues (.50); telephone conference with J. McFarland
                       and follow up re same (.40).

                       Confer with R. Higgins re DIP/Margin agreement                             $ 437.50$
  JSB      12/02/09                                                               0.70    $625
                       issues (.40); confer with J. McFarland re same (.30).                        437.50

                       Review and analyze letter of credit facility and
                       related documentation and exchange correspondence
  RJH      12/02/09                                                               2.40    $475    $1,140.00
                       with client re same (1.30); telephone conferences
                       with client and legal analysis re same (1.10).

                       Review and analyze letter of credit facility and
  RJH      12/07/09    related documentation and exchange correspondence          0.10    $475     $ 47.50
                       with client re same (.1 0).

                       Confer with Grace representatives re DIP, LC
                       agreement and other financing transactions (.60);
  JSB                                                                             1.40    $625     $ 875.00
           12/08/09    participate in call with R. Higgins and C. Finke re
                       tax claim issues (.80).

                       Review and analyze letter of credit facility and
  RJH      12/08/09    related documentation and exchange correspondence           .30    $475     $ 142.50
                       with client re same (.30).

                       Prepare for and participate in telephone conference
  RJH      12/08/09                                                               0.90    $475     $427.50
                       with company and advisors re various issues (.90).

                       Review and analyze revised Latham draft of letter of
  RJH      12/09/09    credit facility and related documentation and              2.50    $475    $1,187.50
                       exchange correspondence with client re same (2.50).

                       Review and analyze revised Latham draft of letter of
  RJH      12/1 0/09   credit facility and related documentation and              1.90    $475     $ 902.50
                       exchange correspondence with client re same (1.90).

                       Review and analyze revised Latham draft of letter of
                       credit facility and related documentation and
  RJH      12/11/09                                                               3.30    $475    $1,567.50
                       exchange correspondence with client re same (1.10);
                       telephone conference with client re same (1.20).



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Attorney    Date                                 Description                  Time       Rate      Amount

                      Confer with M. Shelnitz and P. Hanlon re UK sale
  JSB      12/15/09                                                               0.50    $625      $ 312.50
                      issues (.50).

                      Telephone conference with J. McFarland re exit
  RJH      12/16/09   facility engagement letters (.70); analyze issues re         .90    $475      $ 427.50
                      same (.20).

                      Review and comment on draft L/C motion and
  JSB      12/21/09                                                               1.90    $625     $1,187.50
                      current draft of new LOC agreement (1. 90).

                      Review correspondence re status of  DIP agreement
                      (.30); review newly filed pleadings and attend to
                      same (.60); Confer with C. Finke re tax issues on
                      employee Benefit Plans (.30); confer with J.
  JSB      12/21/09                                                               2.10    $625     $1,312.50
                      O'Connell re Project Surf questions (.30); follow up
                      re employee benefit issues/documents (.30); review
                      and respond to inquiries re confirmation exhibits and
                      evidence issues (.30).

                      Review follow-up and respond re inquiries on Trust
  JSB      12/22/09   Tax issues (.30); review Project Surf information           0.60    $625      $ 375.00
                      from Blackstone and follow up re same (.30).

  JSB      12/30/09   Review revised LOC agreement (.40).                         0.40    $625      $ 250.00

                      Review and analyze L/C Facility documents and
  RJH      12/30/09                                                               1.80    $475      $ 855.00
                      draft L/C motion (1.80).

 Total                                                                           25.40            $13,505.00




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         Matter 14                                                  Hearings


Attorney      Date                            Description                      Time     Rate     Amount

                        Review 12/14 agenda and provide comments re
  JSB       12/07/09    same (.30); prepare correspondence re contested           .60    $625     $ 375.00
                        issues for hearing (.30).

                        Review status of 12/14 hearing matters (.30); confer
                        re same (.20); confer with T. Freedman and D.
  JSB       12109/09    Bernick re status re Omnibus hearing and closing         1.0     $625     $ 687.50
                        arguments (.40); prepare correspondence re same
                        (.20).

                        Prepare and respond to correspondence re hearing on
  JSB       12/1 0/09   12/14 (.30); review and fuiiher revise 12/14 hearing      .60    $625     $ 375.00
                        agenda (.30).

                        Confer with T. Freedman and D. Bernick 12/14
                        Omnibus hearing issues (.30); prepare for and
  JSB       12/14/09
                        conduct 12/14 Omnibus hearing (.90); follow up re
                                                                                 1.0     $625     $ 937.50
                        issues from same (.30).

                        Review revised 1/4 hearing agenda and further
  JSB       12/22/09                                                              .30    $625     $ 187.50
                        revise same (.30).

 Total                                                                           4.10            $2,562.50




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           Matter 15                                                    Litigation


Attorney       Date                        Description                          Time         Rate        Amount

                        Confer with E. Mueller, 1. Hughes and R. Higgins
                        re summary judgment facts and issues (.90);
                        complete review ofWachovia objection on FFIC
                        settlement and respond to correspondence re
                        issues and potential reply (.40); confer with T.
                        Freedman re Wachovia, General, and One
  JSB        12/01/09   Beacon/Seaton and other contested matters                    3.40     $625           $2,125.00
                        (.40);review correspondence from Canada re
                        Canadian claimant inquiries and response to same
                        (.40); confer with R. Spence and G. Lowry re
                        Samson/Kaneb agreements (.80); confer with N.
                        Kritzer re Wachovia Reply (.30); confer with D.
                        Boll re Canadian inquiry (.20).

                        Review correspondence and Order re mediation re
                        California claims and respond re same (.30);
                        review revised response letter on Canadian
                        claimants inquiries and supporting documents and
                        further revise same (1.50); review and respond to
                        suggested revisions to Samson/Kaneb agreement
                        (.40); review court transcript re employee claims
  JSB        12/02/09   issues (.40); prepare correspondence re same                 5.20     $625   $3,250.003,250.00
                        (.20); prepare revised mediation order (.70);
                        revise same and prepare COC for entry of same
                        (.70); review and respond to further comments re
                        Canadian letter (.40); review and respond to
                        further comments on Samson Claim (.40); review
                        correspondence and order re summary judgment
                        collection action (.20).

                        Review Wachovia, rfIC, Edwards pleadings and
                        settlement agreements re Wachovia objection
                        issues and Reply (1.20); review draft Wachovia
                        reply and Motion for Leave and confer with N.
                        Kritzer re same (.50); review draft Factum for
                        Canadian hearing on amended settlement (.50);
                        review correspondence re status of Canadian
  JSB        12/03/09                                                                4.60     $625   $2,875.002,875.00
                        issues (.40); prepare comments on revised
                        Canadian Factum (.40); prepare comments on
                        revised Wachovia reply (.40); revise Motion for
                        Leave to hIe Wachovia Reply (.50); participate in
                        correspondence re issues on Canadian Factor
                        (.40); review draft Olden documents as sent to
                        EPA (.30).




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Attorney    Date                         Description                        Time     Rate      Amount

                      Confer re issues on Canadian Factum for hearing
                      (.50); confer with D. Boll and C2 Legal re the
                      employee Claims Concordance Data Base (.30);
                      confer with T. Freedman re Plan Amendment and
                      affect (.20); prepare correspondence re same
                      (.20); review revised Reply re Wachovia and
                      prepare comments re same (.30); prepare
                      cOlTespondence Concordance Data bases (.30);
                      final review of Canadian Factum and revisions
                      to same (.20); final review ofWachovia Reply
                      (.30); review and respond re issues on
                      Concordance data for employee claims objections
  JSB      12/04/09                                                          5.90     $625          $3,687.50
                      (.40); review correspondence re Canadian issues
                      (.20);.confer with 1. Donley re Alltech inquiry and
                      prepare cOlTespondence re same (.30); review
                      General Insurance Bar Date materials and prepare
                      memo re same (1.20); review correspondence
                      from C. Landeau re Anderson appeal and prepare
                      response re same (.30); review information re
                      Canadian voting issues and confer with T.
                      Freedman re same (.30); review correspondence
                      on Hammar lease claim (.20); review new
                      Canadian letter re potential issues and prepare
                      revisions to response re same (.40).

                      Review correspondence re comments on further
                      Canadian inquiry and respond re same (.30);
                      review comments and questions on General
                      Insurance claim issues and further respond to
                      same (.30); review questions for Canadian hearing
                      re US process and respond to same (.30); review
  JSB      12/07/09                                                          2.30     $625          $1,437.50
                      correspondence re status of Olden negotiations
                      with EP A (.10); review Crown Factum re revised
                      Canadian settlement (.50); prepare comments re
                      same (.30); confer with T. Freedman re same
                      (.20); review documents re Mass. Revenue claim
                      (.30).

                      Review further revised Samson/Kaneb Settlement
                      Agreement (.30); prepare correspondence re
  JSB      12/08/09   revisions for same (.30); review Crown materials       1.40     $625           $ 875.00
                      re Canadian settlement and Plan issues and
                      prepare correspondence re same (.80).

                      Review correspondence and revisions re FFIC/
                      Wachovia settlement (.20); confer re same (.20);
  JSB      12/09/09                                                           .80     $625          $ 500.00
                      review correspondence re Kaneb/Grace/Samson
                      matters and prepare correspondence re same (.40).




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Attorney    Date                                Description                     Time     Rate      Amount

                       Review materials re Samson/Kaneb and successor
                       claims injunction (.40); prepare correspondence re
  JSB      12/1 0/09   same (.30); confer with T. Freedman re same               1.0      $625           $ 750.00
                       (.20); respond to further correspondence re same
                       (.30).

                       Confer with F. Monaco re Canadian Settlement
                       and affect on the Plan process (.30); confer with
                       T. Freedman re same (.30); prepare
                       correspondence re same (.50); review
  JSB      12/11/09    correspondence re Samson status and revised               2.20     $625          $1,375.00
                       documents re same (.30); confer with R. Higgins
                       re employee claims (.30); confer with J. Wisler re
                       MCC objection (.20); prepare further
                       correspondence re Canadian issues (.30).

                       Review Samson/Kaneb Private Parties Agreement
                       and Consent Decree (.50); confer with T.
                       Freedman, F. Monaco and D. Bemick re Canadian
                       opinion, appeal and Plan implications (.50);
  JSB      12/14/09    review Third Circuit opinion re Speights class            2.10     $625          $1,312.50
                       action appeal and correspondence re same (.40);
                       review further cOITespondence re Samson issues
                       (.30); review cOITespondence on        numerous claims
                       issue (.40).

                       Review cOITespondence re Canadian issues and
  JSB      12/15/09                                                               .60     $625           $ 375.00
                       respond re same (numerous matters) (.60).

                       Review and make final revision to amended order
                       re Judge Welch and COC and prepare same for
                       filing (.50); review revised stipulation on North
  JSB      12/16/09
                       Carolina claims and prepare cOITespondence re
                                                                                 1.0      $625           $ 687.50
                       same (.40); further correspondence re NC claims
                       (.20).

                       Confer with Canadian counsel re status of
                       Amended Settlement appeal and related matters
  JSB      12/18/09    (.50); prepare follow up correspondence re same           1.0      $625           $ 750.00
                       (.30); review and respond to inquiries re various
                       contested claims (.40).

                       Review correspondence re Anderson appeal status
  JSB                  (.20); review draft summary judgment motion and           3.40     $625          $2,125.00
           12/21/09    revise same (3.0); confer with R. Higgins re same
                       (.20).

                       Review comments/questions re summary
  JSB      12/28/09    judgment matter (.30); review draft motion/notice         1.60     $625          $1,000.00
                       re employee claims (1.30).




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Attorney    Date                         Description                        Time     Rate      Amount

                      Review correspondence re summary judgment
                      matters (.30); confer with R. Higgins re same
                      (.50); confer with R. Higgins re employee claims
                      issues/motion (.60); review pleadings /POC re
                      Macon issues (.80); prepare correspondence re
  JSB      12/29/09   same (.40); prepare suggested revisions to Kaneb       4.00     $625           $2,500.00
                      Stipulation (.30); review materials re most current
                      draft ofMCC matters (.50); confer with T.
                      Freedman on Macon, Kaneb and MCC (.30);
                      review materials filed by CCAA counsel re
                      retention (.30).

                      Review pleadings re Canadian appeal and CCAA
  JSB      12/30/09                                                           .50     $625            $ 312.50
                      counsel application (.50).

                      Review 3rd Circuit opinion re Montana Injunction
  JSB      12/31/09                                                           .60     $625            $ 375.00
                      (.30); prepare correspondence re same (.30).

 Total                                                                      42.10                   $26,312.50




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        Matter 16                                                Plan and Disclosure Statement


Attorney     Date                                 Description                             Time     Rate    Amount

                       Confer with Plan team re preparation for closing
                       arguments and status of revised objection chart (.80);
  JSB      12/02/09    confer with various associates.re Plan Objection                     1.40    $625    $ 875.00
                       chart (.40); confer with J. Brooks re Libby objection
                       issues (.20).

                       Confer with K. Alexander re Claim Objection Chart
                       issues (.30); review and respond to correspondence
                       re outstanding plan objections (.30); review portions
  JSB      i 2/04/09
                       of current objection chart (.30); review
                                                                                            1.0     $625    $ 750.00
                       correspondence re Canadian note and follow up on
                       Plan amendment issue re same (.30).

                       Review draft chart re appendix of resolved
                       objections (.30); prepare comments re same (.30);
                       review portions of updated and reorganized
                       objection chart (.80); confer with K. Alexander, J.
                       Brooks and N. Kritzer re same (.40); confer with M.
  JSB      12/07/09    Shelnitz re status and closing preparations (.30);                   3.30   $625    $2,062.50
                       confer with K. Love re same (.30); review and
                       respond to numerous inquiries re objection chart
                       (.40); review draft notice re 3rd Plan        amendments,

                       (.30); review and respond to further correspondence
                       re Canadian issues (.20).

                       Revise notice re Plan Amendments and prepare
                       correspondence re same (.40); confer with T.
  JSB      12/08/09                                                                         3.70   $625    $2,312.50
                       Freedman re Plan Objection chart (.30); review and
                       revise Plan Objection Chart (3.0).

                       Further revise Plan Objection Chart and confer with
                       K. Alexander re same (1.50); prepare cover pleading
                       re same (.50); review and respond to numerous
                       inquiries re Confirmation hearing closing
                       preparation, objections and related issues (.40);
  JSB      12/09/09                                                                         4.60   $625    $2,875.00
                       revise cover pleading for Objection chart (.30);
                       prepare correspondence re objection chart issues
                       (.20); review Anderson Memorial's Post-Trial Brief
                       (.50); Review and respond to numerous inquiries re
                       objection chart and further confer re same (1.20).




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Attorney    Date                                  Description                     Time     Rate    Amount

                       Review revised objection chart entries re Anderson
                       (.30); review Anderson post trial brief (2.0); confer
                       with T. Freedman re objection chart and related
                       issues (.30); further review and revise objection chart
  JSB      12/1 0/09   (1.0); revise notice of filing of objection chart (.30);     5.60
                       confer with K. Alexander re further revisions to                     $625   $3,500.00
                       objection chart and related matters (.30); review
                       Anderson motion re brief (.20);participate in
                       conference call with Plan Proponents re closing
                       arguments (1.20).

                       Confer with R. Alexander re Objection chart issues
                       (several conferences)(.60); revise same (2.80);
  JSB      12/11/09    numerous conferences re objection chart issues and           4.80    $625   $3,000.00
                       review and respond to correspondence re same (.90);
                       further review objection chart (.50).

                       Review more current version of   Plan objection chart
                       (1.0); review and.respond to issues re same (.40);
                       confer with 1. Brooks re issues on objection chart
  JSB      12/14/09    and follow up re same (.30); review suggestions for          2.60    $625   $1,625.00
                       amendments to objection chart (.50); review and
                       respond to correspondence on numerous issues re
                       objection chart (.40).

                       Review plan amendments and related matters and
  JSB      12/15/09    respond re same (.40); prepare correspondence re              .70   $625     $ 437.50
                       closing arguments and related matters (.60).

                       Review revised Plan objection chart (1.0); review
                       correspondence re Plan Insurance neutrality and
  JSB      12/16/09    other related issues and respond to same (.30);              1.90   $625    $1,187.50
                       review and respond to numerous inquiries re Plan
                       amendments and closing statement preparation (.50).

                       Participate in call with Plan team re preparation for
                       closing statements (.50); confer with T. Freedman re
  JSB      12/17/09    2010 Trust demands on Grace and related issues               1.0    $625     $ 687.50
                       (.30); confer with Ted Freedman re closing argument
                       issues and preparation (.30).

                       Review and respond to numerous discussions re
  JSB      12/18/09                                                                  .50   $625     $ 312.50
                       preparation for closing arguments (.50).

                       Review materials for preparation for oral argument
                       on Plan Confirmation closing (.40); review agenda
  JSB      12/21/09                                                                 1.00   $625    $ 625.00
                       for oral argument and confer re same (.30); further
                       revise agenda (.30).




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Attorney    Date                                    Description                       Time     Rate     Amount

                      Review cooperation Agreement and draft response to
                      Grace inquiry re same (1.20); review Sealed Air and
  JSB      12/22/09                                                                     1.60    $625    $1,000.00
                      Fresnius comments re Objection Chart and
                      outstanding issues and correspondence re same (.40).

                      Review/revise memo on 20 i 0 expectations for Grace
                                              Plan Status (.80); review
                      personnel needs in light of
  JSB      12/23/09
                      correspondence re Fresenius comments of          Plan
                                                                                        1.0     $625     $ 937.50
                      issues (.40); confer re same (.30).

                      Review draft stipulations re CAN and
                      correspondence re Libby (.30); confer with T.
                      Freedman re Fresenius Tax issues and One Beacon
  JSB      12/28/09                                                                     1.60    $625    $1,000.00
                      objection (.30); review documents re same (.80);
                      further confer with t. Freedman and review
                      correspondence on Fresenius issues (.40).

                      Participate in team call re closing argument
                      preparations (.60); review materials and assemble for
                      Pittsburgh hearings/closing (i .50); review
                      correspondence re Fresenius continued issues (.30);
  JSB      12/29/09   review draft motion re Insurance Neutrality (.30);                4.00    $625    $2,500.00
                      prepare correspondence re Closing Argument
                      matters (.40); review correspondence/draft language
                      re Kaneb/Successor Claims issues (.40); participate
                      in call re Successor claims issues (.50).

                      Review correspondence/comments re Kaneb
                      Stipulation (.40); revise same (.80); confer with T.
                      Freedman re same (.20); prepare further
                      correspondence re same (.30); prepare
                      correspondence re Closing argument preparation
                      (.30); review comments on Insurance Neutrality
                      motion (.30); confer with B. Harding re status (.30);
  JSB      12/30/09                                                                     4.40   $625     $2,750.00
                      review most recent draft ofMCC documents in light
                      of related issues (.30); follow up re Kaneb

                      Stipulation (.30); prepare correspondence re same
                      (.30); review certain post trial briefs in preparation
                      for closing arguments (.50); review and respond to
                      various inquiries re closing argument hearing and
                      related matters (.40).




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Attorney    Date                           Description                         Time     Rate     Amount

                      Finalize Kaneb Stipulation (.30); prepare
                      correspondence re same (.30); confer re coordination
                      of fiing and service of same (.30); review drafts
                      revised re Insurance Neutrality Stipulation and
                      Motion (.30); Participate in Plan Proponents's call re
                      coordination of closing arguments (.60); review
                      correspondence re closing arguments (.40);
  JSB      12/31/09   participate in second call with Plan Proponents on         5.10    $625     $3,187.50
                      closing issues (.50); coordinate re meetings on 1/3 re
                      closing preparation (.30); review comments re oral
                      argument proceedings and revise outline re same
                      (.80); prepare correspondence re same (.30); confer
                      further re same (.30); confer with K. Alexandar re
                      National Union/Morgan Stanley/Longacre
                      Objections materials (.70).

 Total                                                                          50.60            $31,625.00




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                                        Category                                         Total

Total hours for all matters                                                                 266.70

Total amount billed for all matters                                                  $145,342.50


       Attorney               Hours                                                  Amount

       JSB Total                87.90                                                    $77,750.00

       RJH Total               141.0                                                     $77,750.00

  Total Billed for all
                               229.60                                                $145,342.50
        matters




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